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10                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
12                                     OAKLAND DIVISION
13   IN RE: CATHODE RAY TUBE (CRT)            Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
14   ____________________________________     MDL No. 1917
15                                            DIRECT PURCHASER PLAINTIFFS’
     This Document Relates to:
                                              NOTICE OF MOTION AND MOTION FOR
16                                            CLASS CERTIFICATION WITH RESPECT
     ALL DIRECT PURCHASER ACTIONS
                                              TO THE IRICO DEFENDANTS;
17                                            MEMORANDUM OF POINTS AND
                                              AUTHORITIES IN SUPPORT THEREOF
18
                                              Date: March 24, 2022
19                                            Time: 2:00 p.m.
                                              Judge: Hon. Jon S. Tigar
20                                            Ctrm: 6, 2nd Floor
21

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         REDACTED VERSION OF DOCUMENT
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              SOUGHT TO BE SEALED
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        DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF
                POINTS & AUTHORITIES IN SUPPORT THEREOF; Master File No. 07-CV-5944-JST
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                  POINTS & AUTHORITIES IN SUPPORT THEREOF; Master File No. 07-CV-5944-JST
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 1                                 NOTICE OF MOTION AND MOTION

 2   TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on March 24, 2022 at 2:00 p.m., before the Honorable Jon

 4   S. Tigar, District Judge of the United States District Court, Northern District of California, at the

 5   Oakland Courthouse, Courtroom 6, 2nd Floor, 1301 Clay Street, Oakland, California, Direct

 6   Purchaser Plaintiffs (“DPPs”) will and hereby do move for class certification pursuant to Rule 23 of

 7   the Federal Rules of Civil Procedure (“FRCP 23”).

 8          DPPs seek certification of the following class for damages pursuant to FRCP 23(b)(3):

 9          All persons and entities who, between March 1, 1995 and November 25, 2007, directly
            purchased a CRT Product in the United States from any Defendant or any subsidiary
10          or affiliate thereof, or any co-conspirator or any subsidiary or affiliate thereof.
            Excluded from the class are defendants, their parent companies, subsidiaries or
11          affiliates, any co-conspirators, all governmental entities, and any judges or justices
12          assigned to hear any aspect of this action.

13   DPPs also move for appointment of Saveri & Saveri, Inc. as Class Counsel pursuant to FRCP 23(g).

14          This motion is based on this Notice of Motion and Motion, the supporting Memorandum of

15   Points and Authorities, the Expert Report of Phillip M. Johnson, Ph.D. (November 19, 2021) filed

16   herewith, the Declaration of R. Alexander Saveri (previously filed in support of the DPPs’ Motion

17   for Class Certification with Respect to the Thomson and Mitsubishi Defendants (ECF Nos. 2968-5

18   (unredacted version), 2969-2 (redacted version))), the Declaration of R. Alexander Saveri in Support

19   of DPPs’ Motion for Class Certification Re: the Irico Defendants filed herewith, the Declaration of

20   R. Alexander Saveri in Support of DPPs’ Application for Entry of Default Against the Irico

21   Defendants (previously filed as ECF No. 5191-1), the Declaration of R. Alexander Saveri in Support

22   of DPPs’ Opposition to the Irico Defendants’ Motion to Set Aside Default (previously filed as ECF

23   Nos. 5228-1 & 5228-2), the [Proposed] Order Granting Direct Purchaser Plaintiffs’ Motion for Class

24   Certification filed herewith, all exhibits and appendices to such documents, any reply papers, any

25   argument made at the hearing, and all other papers and records on file in this matter.1

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27     Because the factual support for this motion is already in the Court’s file, DPPs rely on previously
     filed declarations. DPPs believe that this is more efficient for the Court and the parties. If the Court
28   desires DPPs to refile these documents, DPPs will do so.
                                                         1
     DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF POINTS
                   & AUTHORITIES IN SUPPORT THEREOF; Master File No. 07-CV-5944-JST
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      INTRODUCTION.

 3           The Cathode Ray Tube (“CRT”) litigation involves one of the most well-documented global

 4   price-fixing conspiracies in history.2 It has been the subject of numerous enforcement proceedings

 5   by domestic and foreign competition authorities.

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15           The Irico Defendants are the sole remaining defendants in this litigation. They improperly

16   and unilaterally ceased participation in the case after their motion to dismiss was denied in 2010,

17   reappearing over seven years later only after DPPs filed a motion for default judgment. In so doing,

18   in addition to stymying the general progress of the litigation against them, the Irico Defendants also

19   avoided the Court’s first order certifying a DPP class, necessitating this motion. Order in re Class

20   Certification with Respect to the Thomson and Mitsubishi Defendants (July 8, 2015) (ECF No.

21   3902) (“Cert. Order”). Certification of another DPP class remains appropriate—the facts and the law

22   are materially unchanged.

23           Indeed, the Court has already held three times that the critical issues on class certification—

24   whether or not classwide issues predominate; whether or not impact can be proven on a classwide

25   basis at the direct purchaser level—should be resolved in favor of class certification. In addition to

26   the Cert. Order, on September 24, 2013, Judge Conti adopted the Interim Special Master’s (“ISM”)

27   2
       Cathode Ray Tubes or CRTs are color picture tubes (“CPTs”) used in televisions; color display
     tubes (“CDTs”) are used in computer monitors. CRT televisions and CRT monitors sold by
28   Defendants will be referred to as “Finished Products.”
                                                      2
     DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF POINTS
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 1   June 20, 2013 recommendation (ECF No. 1742) that an Indirect Purchaser Plaintiffs’ (“IPP”) class

 2   be certified. In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944-SC, 2013 WL 5391159

 3   (N.D. Cal. Sept. 24, 2013) (“CRT I”). These two orders also required findings that impact and

 4   damages could be proved on a classwide basis at the direct purchaser level of distribution—the same

 5   issues presented here. Id. at *5-6.3

 6   II.      PROPOSED CLASS TO BE CERTIFIED.

 7            The DPPs4 are direct purchasers of CRTs and Finished Products from Defendants, their co-

 8   conspirators,5 and/or their subsidiaries or affiliates. They have brought this action on behalf of

 9   themselves and a proposed class (“Class”) defined as:

10            All persons and entities who, between March 1, 1995 and November 25, 2007, directly
              purchased a CRT Product in the United States from any Defendant or any subsidiary
11            or affiliate thereof, or any co-conspirator or any subsidiary or affiliate thereof.
              Excluded from the class are defendants, their parent companies, subsidiaries or
12            affiliates, any co-conspirators, all governmental entities, and any judges or justices
13            assigned to hear any aspect of this action.6

14   III.     THE FIRST LITIGATED CLASS CERTIFICATION ORDER

15            The Cert. Order reflected, as required, a “rigorous” examination of the evidence and the law

16   relating to DPPs’ motion. Cert. Order at 8. In a 50-page order, Judge Conti found—after thorough

17   analysis—all of the requirements of FRCP 23 satisfied. He examined the report of DPPs’ expert

18   economist Dr. Jeffrey Leitzinger in detail and rejected attacks on his findings.

19            Judge Conti found all of the requirements of FRCP 23(a) satisfied and rejected arguments

20   that the class was not ascertainable. Cert. Order at 11-16. He also found predominance under FRCP

21   23(b)—i.e., that DPPs could prove their case—conspiracy, impact and damages—via class wide

22   3
       In addition, the Court has certified numerous DPP and IPP settlement classes. Declaration of R.
23   Alexander Saveri in Support of Direct Purchaser Plaintiffs’ Motion for Class Certification Re: The
     Irico Defendants (“Saveri 2021 Decl.”) ¶ 3. Hereafter “Ex. __” with alphabetic exhibits refers to the
24   Saveri 2021 Declaration.
     4
       Arch Electronics, Inc.; Crago, d/b/a Dash Computers, Inc.; Meijer, Inc. and Meijer Distribution,
25   Inc.; Nathan Muchnick, Inc.; Princeton Display Technologies, Inc.; Radio & TV Equipment, Inc.;
     Studio Spectrum, Inc.; and Wettstein and Sons, Inc., d/b/a Wettstein’s. These representatives were
26   approved by the Court in the Cert. Order (at 11) and for various settlement classes.
     5
27    The complete co-conspirator list is set forth in the Saveri 2021 Declaration. Saveri 2021 Decl. ¶ 2.
     6
      The class definition is identical to the one certified by Judge Conti. Cert. Order at 6, 50. Judge
28   Conti also required that “affiliates” be identified. Id.
                                                          3
     DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF POINTS
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 1   evidence. See id. at 43. As to the conspiracy, he stated:

 2           Upon its own inquiry the Court is satisfied that the quantity and quality of the evidence
 3           supports by a preponderance of the evidence that there was a price-fixing scheme and
             its existence and operations would be a question common to all class members.
 4
     Cert. Order at 37-8. As to impact, Judge Conti found that each category of proof offered by DPPs
 5
     was common to the class. Thus, he found “contemporaneous evidence” of the conspiracy showed
 6
     classwide impact:
 7
             DPPs put forward evidence (as reviewed by Dr. Leitzinger) suggesting that all but a
 8           small fraction of the CRT market was impacted, that the conspiracy’s price goals were
             achieved a significant portion of the time, and that conspirators were effective at
 9
             monitoring and enforcing conspiratorial agreements.
10   Id. at 39-40. He found that Dr. Leitzinger’s statistical analysis was sound and also proved classwide
11   impact. See id. at 42. And he found that Dr. Leitzinger’s analysis and conclusion that “structural
12   factors” relating to the CRT market and the alleged conspiracy—e.g., the conspirators’ control of the
13   CRT market and capacity, the global nature of the conspiracy and its high level of organization, high
14   barriers to entry into the CRT market, that the conspiracy set prices for over 90% of CRTs during
15   the class period, etc. (id. at 30-31)—also proved classwide impact. Id. at 43 (“The Court’s review of
16   structural factors presented by Dr. Leitzinger shows, by a preponderance of the evidence that
17   structural issues could be shown at trial to have generated class impact.”).
18           Judge Conti also approved DPPs’ damage study:
19
             Dr. Leitzinger’s report is supported by both documentary facts and industry data, his
20           approach to determining whether Mitsubishi was part of the conspiracy or sold CRT
             products in connection therewith is based on factual review of evidence, and his use of
21           regression and correlation analysis is well established as a means of providing
             classwide proof of antitrust injury and damages.
22
     Id. at 48; see also id. at 44-45.
23
             Finally, Judge Conti found that DPPs had satisfied FRCP 23(b)(3) superiority. Id. at 49-50.
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     IV.     FACTUAL BACKGROUND.
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             A.      The Investigations by the DOJ and Other Governmental Authorities.
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     DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF POINTS
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 1   May of 2011, co-conspirator SDI pleaded guilty to participating in the CRT conspiracy.7 The DOJ

 2   also indicted six former executives of co-conspirators SDI, Chunghwa, LGE, and LPD, alleging,

 3   inter alia, agreements on prices, output, and market allocation; exchange of sales, production,

 4   market share, and pricing data; auditing to verify compliance with conspiratorial agreements; and

 5   active concealment of the conspiracy. Exs. 5–8. When announcing the indictment of Chunghwa’s

 6   President, C.Y. Lin, the DOJ was clear: “[t]his conspiracy harmed countless Americans who

 7   purchased computers and televisions using cathode ray tubes sold at fixed prices.” Ex. 9.8

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            The existence and operation of the CRT conspiracy is the overwhelmingly predominant issue
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     for purposes of this motion and can be established through common, classwide proof
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       Declaration of R. Alexander Saveri in Support of Direct Purchaser Plaintiffs’ Motion for Class
21   Certification with Respect to the Thomson and Mitsubishi Defendants (“Saveri Decl.”) (previously
     filed at ECF Nos. 2968-5 (unredacted version sealed per Order (ECF No. 3498)), 2969-2 (redacted
22   version), Ex. 3. Hereafter “Ex. _” with numeric exhibits refers to exhibits to this previously filed
     Saveri Declaration.
23   8
       Foreign competition authorities have also fined CRT conspirators. The European Commission
     fined Chunghwa, Samsung, Philips, LGE, Panasonic, Toshiba, and Thomson, among others, 1.47
24   billion Euros ($1.9 billion). Ex. 10. The Japan Fair Trade Commission fined Panasonic, Samsung,
     and LGPD a total of $37.4 million. Ex. 11. The Korean Fair Trade Commission (“KFTC”) fined
25   Samsung, Chunghwa, and LGPD $23.5 million. Ex. 12. The KFTC also produced a detailed report
     on the workings of the conspiracy. A translated version of the report is Ex. 13. The Czech
26   Competition Authority fined Chunghwa, Panasonic, Thomson, Toshiba, and others a total of 51.787
     million CZK. Ex. 14. Thomson admitted liability in annual reports. Ex. 140.
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                                               Ex. 13 at 16–17, ¶ 35 & Table 7 (KFTC Report
17   (Statement of SDI General Manager I.H. Song)).
     14
18                                        Ex. 13 at 18–19, ¶ 38 & Table 11 (KFTC Report (Statement
     of SDI General Manager I.H. Song)).
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27                               Ex. 13 at 17–18, Table 9 (KFTC Report (Statement of SDI General
     Manager I.H. Song)).
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     DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF POINTS
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 4                       “there is evidence of the Irico Defendants’ participation in ‘a single, overarching

 5   conspiracy.’”). Order Setting Aside Default at 16 (Feb. 1, 2018) (ECF No. 5240). Discovery to date

 6   discloses over

 7                                                    See Order re DPPs’ Mot. to Compel Interrog. Further

 8   Answers at 2 (Aug. 4, 2021) (ECF No. 5944) (“103 documents that the DPPs assert establish
 9   incriminating conduct and communications by Irico”).18

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13                                                       For example, on November 6, 1998, Irico hosted a

14   meeting with Chunghwa, Philips, Samsung SDI (SSDD), Orion, and BMCC where specific prices

15   were set for Irico CPTs. ECF No. 5228-2, Ex. 12 at CHU00030686.01E. Chunghwa’s notes

16   emphasized the conspirators’ agreement to fix prices:

17            Therefore, the meeting attendees achieved a unified approach and a common
              understanding, hastening each sales department to deliver the message as follows: “It
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27     In the proceedings relating to the default entered against Irico, DPPs submitted documents
     evidencing 26 such meetings. An index of these meetings was publicly filed as ECF No. 5228-1, Ex.
28   11, which includes docket citations to each meeting note as well as related deposition excerpts.
                                                        8
     DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF POINTS
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            is impossible for the prices to drop. If there are signs of oversupply, then it will be
 1          handled with reducing production.”
 2   Id. at CHU00030686.02E. Notes of a June 22, 1999 meeting between Irico, Orion and Chunghwa

 3   disclose that:

 4          They [Irico] very much appreciated the market information provided by CPT and
 5          ORION and are willing to cooperate with the move to increase the price of 14” CPT,
            except that July orders have already been received. They are willing to increase the
 6          overall price beginning in August.

 7   ECF No. 5228-2, Ex. 17 at CHU00029051E ¶ 3. Notes of an August 5, 1999 meeting between Irico,

 8   Samsung SDI, Chunghwa, Philips, Orion and BMCC show discussion of “bottom price for key

 9   accounts” both for export and domestic sales for 14”, 15” and 17” CDTs, “based on MPR II.” A

10   major topic was “Special lecture by MR. C.C.LIU ([Chunghwa] headquarters administrator)”: “1)

11   The industry meetings should remain confidential considering the international regulation of

12   antitrust laws[;] 2) F[OLLOW]/UP on China regarding the top meeting decision[; and] 3)

13   Discussions focused on 14”/15” prices[.]” ECF No. 5228-2, Ex. 20 at SDCRT-0086672E; see also

14   ECF No. 5191-2, Ex. I.

15          Similarly, on August 9, 2001, Irico and Hitachi, BMCC, Chunghwa, Philips, LG and SDI

16   considered production reduction proposals for CPTs and “Suggested Price” whereby “[e]ach

17   company must follow the above pricing and must not sell at a lower price through any unfair

18   competition means.” ECF No. 5191-2, Ex. L at SDCRT-0087701E.

19          On December 31, 2003, Irico met with Chunghwa in Shenzen, China to discuss future

20   production and plans. See ECF No. 5191-2, Ex. M. The report notes that Irico and Chunghwa “wish

21   to once more exchange views regarding CPT factory production capacities.” Id. at

22   CHU00030067.03E ¶ 7.

23          An October 2005 meeting report documents Chunghwa’s and Irico’s “[h]ope [that] with both

24   sides’ sufficient communication and no malicious competition, can hold the market price and create

25   a win-win opportunity.” ECF No. 5228-2, Ex. 26 at CHU00040992E ¶ 4.

26          Other conspirators have testified to Irico’s participation in the conspiracy. For example,

27   Chunghwa conspirator J.S. Lu testified regarding a July, 2001 meeting that Irico “said it is willing to

28   cooperate as I wrote it in this report” to “increase the overall price beginning in August.” ECF No.
                                                          9
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 1   5228-2, Ex. 18 at 187:22–188:25. The Irico Defendants have confirmed attendance at competitor

 2   meetings: senior manager, Zhaojie Wang, admitted attending “many, many such meetings.” Saveri

 3   2021 Decl., Ex. B at 92:19–24.

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          Ex. 13 at 19, Table 11 (KFTC Report (Statement of I.H. Song)).
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 2   V.       ARGUMENT.

 3            The Supreme Court has long recognized that antitrust class actions are a vital component of

 4   antitrust enforcement. See Reiter v. Sonotone Corp., 442 U.S. 330, 344 (1979); Hawaii v. Standard

 5   Oil Co., 405 U.S. 251, 266 (1972). Consequently, as Judge Conti noted, courts “resolve doubts in

 6   these actions in favor of certifying the class.” Cert. Order at 6 (quoting In re Rubber Chems.

 7   Antitrust Litig., 232 F.R.D. 346, 350 (N.D. Cal. 2005) (“Rubber Chems).

 8            To determine whether the DPPs have satisfied their burden under Rules 23(a) and (b), the
 9   court must conduct a “rigorous analysis,” which may require it to probe behind the pleadings. Ellis

10   v. Costco Wholesale Corp., 657 F.3d 970, 980–81 (9th Cir. 2011). However, “Rule 23 grants courts

11   no license to engage in free-ranging merits inquiries at the certification stage. Merits questions may

12   be considered to the extent—but only to the extent—that they are relevant to determining whether

13   the Rule 23 prerequisites for class certification are satisfied.” Amgen Inc. v. Conn. Ret. Plans, 568

14   U.S. 455, 465–66 (2013); Cert. Order at 8.

15            “The district court is required to examine the merits of the underlying claim in this context,

16   only inasmuch as it must determine whether common questions exist; not to determine whether class

17   members could actually prevail on the merits of their claims.” Ellis, 657 F.3d at 983 n.8. Thus, it

18   would be improper to determine on a certification motion which of the parties’ respective experts’

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20                                                                    see also Ex. 131 at SDCRT-
     0086672E (August 5, 1999 meeting) (“Special lecture” that “[t]he industry meetings should remain
21   confidential considering the international regulation of antitrust laws”) (publicly filed as ECF No.
     5228-2, Ex. 20).
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 1   findings and observations are more credible on the merits: “[t]o hold otherwise would turn class

 2   certification into a mini-trial.” Id. Plaintiffs need only show that they satisfy the prerequisites set

 3   forth in FRCP 23(a) and one subsection of FRCP 23(b). See Rubber Chems., 232 F.R.D. at 349–50.

 4   There is also no requirement that the class be ascertainable under FRCP 23. “In 2017, however, the

 5   Ninth Circuit ruled definitively that ascertainability is not a requirement under Rule 23.” Sarmiento

 6   v. Sealy, Inc., 18-cv-01990-JST, 2020 WL 4458915, at n.3 (N.D. Cal. May 27, 2020) (Tigar, J.)

 7   (citing Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1125 (9th Cir. 2017)).

 8           A.      Plaintiffs Satisfy the Requirements of FRCP 23(a).
 9           Numerosity. There “is no fixed numerical threshold class members must exceed to satisfy

10   the numerosity requirement.” Terry v. Hoovestol, Inc., Case No. 16-cv-05183-JST, 2018 WL

11   6439167, at *3 (N.D. Cal. Dec. 7, 2018) (Tigar, J.) (holding 39-member settlement class met

12   numerosity requirement).

13                                                                              Saveri Decl. ¶ 2.

14   Accordingly, as the Court has already held, the FRCP 23(a)(1) standard is satisfied. Cert. Order at 9.

15           Commonality. FRCP 23(a)(2) requires that class members share common issues of law or

16   fact. Only one significant issue is necessary to satisfy the commonality prong. Wal-Mart v. Dukes,

17   564 U.S. 338, 359 (2011). Courts in this Circuit have repeatedly held that this prong is satisfied

18   where—as here—a price-fixing conspiracy is alleged. “[T]he very nature of a conspiracy antitrust

19   action compels a finding that common questions of law and fact exist.” Wortman v. Air New

20   Zealand, 326 F.R.D. 549, 556 (N.D. Cal. 2018) (Breyer, J.)(quoting In re Dynamic Random Access

21   Memory (DRAM) Antitrust Litig., No. M 02-1486 PJH, 2006 WL 1530166, at *3 (N.D. Cal. June 5,

22   2006) (“DRAM”). Other common questions include whether the conspiracy caused the prices of

23   CRTs to be set at supra-competitive levels, the measure of classwide damages and whether the

24   conspirators engaged in affirmative acts to conceal the conspiracy. As the Court has already found,

25   the FRCP 23(a)(2) standard is satisfied. See Cert. Order at 22.

26           Typicality. “The typicality prerequisite of Rule 23(a) is fulfilled if ‘the claims or defenses of

27   the representative parties are typical of the claims or defenses of the class.’. . . ‘Under the rule's

28   permissive standards, representative claims are ‘typical’ if they are reasonably co-extensive with
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 1   those of absent class members; they need not be substantially identical.’” Castillo v. Bank of

 2   America, NA, 980 F.3d 723, 729 (9th Cir. 2020) (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011,

 3   1020 (9th Cir. 1998)). As Judge Conti explained, “[t]ypicality requirements are often satisfied

 4   ‘wherein it is alleged that the defendants engaged in a common [price-fixing] scheme relative to all

 5   members of the class.’. . . In such cases, ‘there is a strong assumption that the claims of the

 6   representative parties will be typical of the absent class members.’” Cert. Order at 10 (quoting In re

 7   Catfish Antitrust Litig., 826 F. Supp. 1019, 1035 (N.D. Miss. 1993)).

 8          Purported factual differences from Class members with respect to purchasing practices or

 9   dealings with defendants do not preclude typicality. “[T]here is substantial legal authority holding in

10   favor of a finding of typicality in price fixing conspiracy cases, even where differences exist

11   between plaintiffs and absent class members with respect to pricing, products, and/or methods of

12   purchasing products.” In re Korean Ramen Antitrust Litig., No. 13-CV-04115-WHO, 2017 WL

13   235052, at *18 (N.D. Cal. Jan. 19, 2017) (quoting DRAM, 2006 WL 1530166, at *5).

14          As Judge Conti noted, the named DPPs’ claims are typical of the claims of other putative

15   Class members because “the pervasive nature and common impact of Defendants’ alleged price-

16   fixing scheme supports that the claims made by the DPPs ‘stem from the same event, practice, or

17   course of conduct that forms the basis of the claims of the class and are based on the same legal or

18   remedial theory.’” Cert. Order at 3 (quoting In re Citric Acid, No. 95–1092, C–95–2963 FMS,1996

19   WL 655791 (N.D. Cal. Oct. 2, 1996). The alleged conspiracy set the supra-competitive prices all

20   Plaintiffs and Class members paid and forms the linchpin of the claims of every Plaintiff and Class

21   member. That some purchased CRTs in Finished Products does not undermine typicality. The Court

22   has already held that Finished Products purchasers may seek the same overcharge as purchasers of

23   CRTs. In re Cathode Ray Tube (CRT) Antitrust Litig., 911 F. Supp. 2d 857, 872 (N.D. Cal. 2012)

24   (“CRT II”).

25          Adequacy. Plaintiffs also satisfy FRCP 23(a)(4). “The proper resolution of this issue

26   requires that two questions be addressed: (a) do the named plaintiffs and their counsel have any

27   conflicts of interest with other class members and (b) will the named plaintiffs and their counsel

28   prosecute the action vigorously on behalf of the class?” In re Mego Financial Corp. Sec. Litig., 213
                                                       17
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 1   F.3d 454, 462 (9th Cir. 2000). Adequacy requires that Plaintiffs (1) have no interests that are

 2   antagonistic to or in conflict with the interests of the class; and (2) retain counsel able to vigorously

 3   prosecute the interests of the class. See SRAM, 2008 WL 4447592, at *4. Only one class

 4   representative need meet this requirement. Rodriguez v. West Publ’g Corp., 563 F.3d 948, 961 (9th

 5   Cir. 2009) “‘[T]he threshold of knowledge required to qualify a class representative is low; a party

 6   must be familiar with the basic elements of her claim . . . and will be deemed inadequate only if she

 7   is ‘startlingly unfamiliar’ with the case.’” In re Twitter Inc. Sec. Litig., 326 F.R.D. 619, 628 (N.D.

 8   Cal. 2018) (Tigar, J.) (quoting In re Intuitive Surgical Sec. Litig., Case No. 5:13-cv-01920-EJD,

 9   2016 WL 7425926, at *7 (N.D. Cal. Dec. 22, 2016).

10             Courts have regularly found this requirement satisfied in price-fixing cases. Class

11   representatives “will be found to be adequate when the attorneys representing the class are qualified

12   and competent, and the class representatives are not disqualified by interests antagonistic to the

13   remainder of the class.” In re Online DVD Rental Antitrust Litig., No. M 09-2029 PJH, 2010 WL

14   5396064, at *4 (N.D. Cal. Dec. 23, 2010)(“Online DVD Rental”). “The mere potential for a conflict

15   of interest is not sufficient to defeat class certification; the conflict must be actual, not hypothetical.”

16   In re Static Random Access (SRAM) Antitrust Litig., No. C 07-01819 CW, 2008 WL 4447592, at *4

17   (N.D. Cal. Sept. 29, 2008). There is no conflict here. The named DPPs allege Class members were

18   injured by the same conspiracy in the same way, seek the same relief in the form of overcharge

19   damages, and share an identical interest in proving Defendants’ liability.

20             The named DPPs have also retained skilled counsel with extensive experience in prosecuting

21   antitrust class actions. The Court has appointed Saveri & Saveri, Inc. as Interim Lead Class Counsel.

22   Order Appointing Interim Lead Counsel (May 9, 2008) (ECF No. 282). The Saveri firm has

23   undertaken the responsibilities assigned to it and—with other able Plaintiffs’ counsel—have

24   vigorously pursued the litigation on behalf Plaintiffs and the proposed Class. Among other things,

25   Plaintiffs have obtained nine settlements totaling over $212 million. The Saveri firm has devoted

26   substantial time, resources, and leadership necessary to vigorously prosecute this action, and will

27   continue to do so. As the Court has already held, Plaintiffs meet the adequacy requirement36 See

28   36
          Saveri & Saveri, Inc. also seek appointment as Lead Counsel for the class pursuant to Rule 23(g).
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 1   Cert. Order at 22.

 2           B.      This Action Meets the Requirements of FRCP 23(b)(3).

 3           To qualify for certification under FRCP 23(b)(3) a class must meet two additional

 4   requirements: “[c]ommon questions must predominate over any questions affecting only individual

 5   members; and class resolution must be superior to other available methods for the fair and efficient

 6   adjudication of the controversy.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 615 (1997)

 7   (internal quotations omitted). As noted by the Supreme Court: “[p]redominance is a test readily met

 8   in certain cases alleging . . . violations of the antitrust laws.” Id. at 625.

 9                   1.      Common Questions of Law and Fact Predominate.

10           Courts commonly find “predominance” under FRCP 23(b)(3) satisfied in direct purchaser

11   horizontal price fixing cases. In re Cathode Ray Tube (CRT) Antitrust Litig., 07-cv-05944-JST, 2020

12   WL 1873554, at *5 (N.D. Cal. Mar. 11, 2020) (“[I]n price-fixing cases, such as this, ‘courts

13   repeatedly have held that the existence of the conspiracy is the predominant issue and warrants

14   certification even when significant individual issues are present.’” (quoting Thomas & Thomas

15   Rodmakers, Inc. v. Newport Adhesives & Composites, Inc., 209 F.R.D. 159, 167 (C.D. Cal. 2002)).

16   The Rule “does not require a plaintiff seeking class certification to prove that each ‘elemen[t] of

17   [her] claim [is] susceptible to classwide proof.’ . . . What the rule does require is that common

18   questions ‘predominate over any questions affecting only individual [class] members.’” Amgen, 568

19   U.S. at 469 (brackets and emphasis in original). The inquiry is whether the class is “sufficiently

20   cohesive to warrant adjudication by representation.” Id. (quoting Amchem, 521 U.S. at 623).

21           Rule 23(b)(3)’s predominance requirement is satisfied when “common questions
             represent a significant aspect of [a] case and . . . can be resolved for all members of [a]
22           class in a single adjudication.” . . . Or, to put it another way, common questions can
             predominate if a “common nucleus of operative facts and issues” underlies the claims
23           brought by the proposed class. . . . Individual questions need not be absent. The text of
24           Rule 23(b)(3) itself contemplates that such individual questions will be present. The
             rule requires only that those questions not predominate over the common questions
25           affecting the class as a whole.

26   Messner v. Northshore Univ. Health System, 669 F.3d 802, 815 (7th Cir. 2012) (internal citations
27   omitted). As Judge Conti noted in CRT I, “the Court’s rigorous analysis overlaps with the merits of
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                                                           19
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 1   the IPPs’ claims and requires that the IPPs make an evidentiary case for predominance, . . . but

 2   Defendants are trying to push the ISM and the Court toward a full-blown merits analysis, which is

 3   forbidden and unnecessary at this point.” 2013 WL 5391159, at *5 (citations omitted). “In

 4   determining whether common questions predominate, the Court identifies the substantive issues

 5   related to the plaintiffs’ claims (both the causes of action and affirmative defenses), and then

 6   considers the proof necessary to establish each element of the claim or defense, and how these issues

 7   would be tried.” Sarmiento, 2020 WL 4458915, at *5.

 8          Here, common issues predominate with respect to DPPs’ proof of the three elements of their
 9   claim: (1) that Defendants participated in a conspiracy to fix prices in violation of the antitrust laws;

10   (2) that DPPs suffered antitrust injury (i.e., “impact”) caused by the conspiracy; and (3) the damages

11   they sustained. See Cert. Order at 38, 43, & 48. Common questions predominate because the DPPs

12   will establish these elements through “generalized proof” applicable to the Class as a whole.

13          Existence and Nature of the Conspiracy. If each Class member were required to prove its

14   claim individually at trial, each would show that Defendants and their co-conspirators organized,

15   participated in, and operated the same global price-fixing cartel. Each would submit the same type

16   of proof detailed above in Section IV above, namely:

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18                                                                                        This proof, along

19   with economic evidence of the conspiracy, is common to the Class and supports a finding of

20   predominance. See SRAM, 2008 WL 4447592, at *5 (common liability issues predominated because

21   common evidence regarding alleged conspiracy, including written records of in-person, telephone,

22   and email communications, would be necessary to prove claims of all class members).

23          Classwide Proof of Impact. Proof of antitrust injury requires a showing of some injury to

24   “business or property” due to an antitrust violation. See Reiter, 442 U.S. at 337–41; Zenith Radio

25   Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 126 (1969) superseded by statute on other grounds.

26          “[O]n a motion for class certification, the Court only evaluates whether the method by which

27   plaintiffs propose to prove class-wide impact could prove such impact, not whether plaintiffs in fact

28   can prove class-wide impact.” In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 291, 313
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 1   (N.D. Cal. 2010) (“LCD”) (quoting In re Magnetic Audiotape Antitrust Litig., No. 99 CIV 1580,

 2   2001 WL 619305, at *4 (S.D.N.Y. June 1, 2001)). Stated another way, all that is required is that

 3   plaintiffs present a “‘plausible methodology to demonstrate that antitrust injury can be proven on a

 4   class-wide basis.’” Id. at 311. “‘[T]he issue at class certification is not which expert is the most

 5   credible, or the most accurate modeler, but rather have the plaintiffs demonstrated that there is a way

 6   to prove a class-wide measure of [impact] through generalized proof.” Online DVD Rental, 2010

 7   WL 5396064, at *10 (quoting In re Ethylene Propylene Diene Monomer (EPDM) Antitrust

 8   Litig., 256 F.R.D. 82, 100 (D. Conn. 2009) (“EPDM”)
 9          The DPPs present three types of “generalized proof.” First, as Plaintiffs’ expert economist,

10   Dr. Johnson explains, the contemporaneous evidence of the conspiracy shows classwide impact.

11   Second, Dr. Johnson presents statistical evidence of classwide harm. Third, Dr. Johnson concludes,

12   based upon evidence of the structure of the CRT market and the operation of the CRT conspiracy,

13   that the conspiracy caused classwide impact. Each of these categories of evidence is substantially

14   identical to that presented to Judge Conti and each constitutes a “plausible methodology” to prove

15   generalized harm. Together, they easily satisfy the requirements of FRCP 23(b)(3).

16          First, evidence of conspiratorial conduct can prove impact. See, e.g. In re High-Tech Emp.

17   Antitrust Litig., 289 F.R.D. 555, 570–73, 576 (N.D. Cal. 2013). Here, as explained above, there is

18   abundant evidence common to the Class that Defendants’ conspiracy had classwide impact.

19

20   See Section IV.B.2 above.

21          Proof of a conspiracy to establish a “base” price would establish at least the fact of
            damage, even if the extent of the actual damages suffered by the plaintiffs would vary.
22          . . . [T]he proof with respect to the “base” price from which these negotiations began,
            or the structure of the conspiracy to affect individual negotiations, would be common
23          to the class. Accordingly . . . the fact of damage is predominantly, if not entirely, a
24          common question.

25   EPDM, 256 F.R.D. at 89 (quoting In re NASDAQ Market-Makers Antitrust Litig., 169 F.R.D. 493,

26   523 (S.D.N.Y. 1996) (“NASDAQ”)); see also In re Urethane Antitrust Litig., No. 13-3215, 2014 WL

27   4801253, at *6 (10th Cir. Sept. 29, 2014) (“Under the prevailing view, price-fixing affects all market

28   participants, creating an inference of class-wide impact even when prices are individually
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 1   negotiated. . . . The inference of class-wide impact is especially strong where, as here, there is

 2   evidence that the conspiracy artificially inflated the baseline for price negotiations.” (citations

 3   omitted)).

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12                                                                                              See Section

13   IV.B.4 above. This also proves classwide impact.

14                                                                           See High-Tech, 289 F.R.D. at

15   572 (monitoring and enforcement of conspiratorial agreements shows “broad effects” on class).

16   Judge Conti found this evidence “has the ability to show impact through common evidence and

17   methods.” Cert. Order at 40.

18          Second,

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 1                                                                                     And although Dr.

 2   Johnson was not required to do so under Royal Printing (CRT II, 911 F. Supp. 2d at 871),

 3

 4                                                                   In these regards, Dr. Johnson’s

 5   statistical analysis and his conclusions are substantially identical to Dr. Leitzinger’s.

 6            Dr. Johnson has also performed additional statistical analyses further confirming his

 7   conclusion of widespread impact.

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10            Third, economic analyses of the structure of an industry are another type of common proof

11   which courts have relied on to find that antitrust injury is susceptible to classwide proof within the

12   meaning of FRCP 23(b)(3). Cert. Order at 43 (“The Court’s review of structural factors presented by

13   Dr. Leitzinger shows, by a preponderance of the evidence, that structural issues could be shown at

14   trial to have generated class impact.”). Like Dr. Leitzinger,

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18                   Judge Conti relied on a similar analysis by the IPPs’ expert in affirming a

19   recommendation to certify a class of indirect purchasers of CRTs. CRT I, 2013 WL 5391159, at *3.

20            Classwide Proof of Damages. Dr. Johnson’s damage model determines

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22   It is therefore tied closely to the DPPs’ theory of liability.38 Johnson Report ¶¶ 72-80. It is based on

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25      The proposed method “need not be exact” but “must be consistent with [the plaintiffs’] liability
     case.” Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013) (“Comcast”) (citing Story Parchment Co.
26   v. Paterson Parchment Paper Co., 282 U.S. 555, 563 (1931)). “Plaintiffs' burden at this stage is only
     to demonstrate that ‘the questions of law or fact common to the class members predominate over
27   any questions affecting only individual members.’ . . . Courts in this circuit have not interpreted
     Comcast to ‘require certification proponents to rely on a class-wide damages model to demonstrate
28   predominance.’ . . . Rather, ‘[t]he Ninth Circuit reads Comcast to demand only that plaintiffs ‘be
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 1   the well-established “before and after” method, which was previously approved by Judge Conti.

 2   Cert. Order at 43-48 (“[Dr. Leitzinger’s] use of regression and correlation analysis is well

 3   established as a means of providing classwide proof of antitrust injury and damages.”).

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 8          Dr. Johnson’s model is designed to
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12                                                                                 to Dr. Leitzinger’s

13   previously approved model. See ECF No. 5191-2, Ex. D.

14          This type of study is a standard of antitrust practice. Cert. Order at 44-45. The merits of this

15   methodology “will be adjudicated at trial based upon economic theory, data sources, and statistical

16   techniques that are entirely common to the class.” SRAM, 2008 WL 4447592, at *6 (quoting

17   NASDAQ, 169 F.R.D. at 521). It is well-established that a need for individualized damage

18   calculations will not defeat class certification. Vaquero v. Ashley Furniture Industries, Inc., 824 F.3d

19   1150, 1155 (9th Cir. 2016) (“Under Tyson Foods and our precedent, therefore, the rule is clear: the

20   need for individual damages calculations does not, alone, defeat class certification.”). “[U]ncertainty

21   regarding class members’ damages does not prevent certification of a class as long as a valid method

22   has been proposed for calculating those damages.” Nguyen v. Nissan N. Am., Inc., 932 F.3d 811, 817

23   (9th Cir. 2019) (quoting Lambert v. Nutraceutical Corp., 870 F.3d 1170, 1182 (9th Cir. 2017).” “At

24   the class certification stage, Plaintiffs must show that damages can ‘feasibly and efficiently be

25   calculated once the common liability questions are adjudicated.’” Aberin v. Am. Honda Motor Co.,

26   Inc., No. 16-CV-04384-JST, 2021 WL 1320773, at *11 (N.D. Cal. Mar. 23, 2021) (quoting Leyva v.

27   able to show that their damages stemmed from the defendant's actions that created the legal
     liability.’’” In re Twitter Inc. Sec. Litig., 326 F.R.D. at 630 (citations omitted).
28   39
        As Judge Conti confirmed, the use of average quarterly prices is proper. Cert. Order at 44-45.
                                                           24
     DPPs’ NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO IRICO DEFS.; MEMORANDUM OF POINTS
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 1   Medline Industries Inc., 716 F.3d 510, 513-14 (9th Cir. 2013).

 2          Here, Dr. Johnson has presented a workable and widely accepted methodology for measuring

 3   classwide damages. In doing so, moreover, Dr. Johnson has gone well beyond FRCP 23’s

 4   requirements and he has constructed a complete working model (though preliminary) that can

 5   determine damages on a classwide basis. Johnson Rep. ¶¶ 87-88.

 6                  2.      A Class Action Is Superior Here.

 7          FRCP 23(b)(3) requires that a class action be “superior to other available methods for fairly

 8   and efficiently adjudicating the controversy.” Here, it would be incredibly inefficient to litigate the

 9   predominating common issues in individual proceedings. In addition, “[i]n antitrust cases such as

10   this, the damages of individual direct purchasers are likely to be too small to justify litigation, but a

11   class action would offer those with small claims the opportunity for meaningful redress.” SRAM,

12   2008 WL 4447592, at *7. The prosecution of separate actions would also create the risk of

13   inconsistent rulings and could result in prejudice to the named DPPs and Class members. As Judge

14   Conti noted in the Cert. Order: “[C]ontinuing in the form of a class action will promote judicial

15   efficiency, is likely the only means of recovery for many plaintiffs whose recovery would otherwise

16   be too low to justify the cost of individual litigation, and there seems to be little disagreement among

17   the proposed class regarding whether class treatment would be beneficial.” Cert. Order at 49. Thus,

18   class certification remains plainly superior here to individual proceedings.

19   VI.    CONCLUSION

20          For the foregoing reasons, the DPPs respectfully request that the court grant class

21   certification and appoint Saveri & Saveri Class Counsel pursuant to FRCP 23(g).

22

23   Dated: November 19, 2020                              Respectfully submitted,
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